                                           Case: 1:19-cv-06014 Document #: 2 Filed: 09/06/19 Page 1 of 1 PageID #:9
ILND44             (Rev.07tt3tt6)
                                             COJ- Z                    COVER SHEET               CIVI
TheJS44civilcoversheetandtheinformationcontainedhereinneitherreplacenorsupplementthefilingandserviceofpleadingsorotherpapersasrequiredbylaw, exceptas
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September I 974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                                        DEFENDANTS
                   RftUL                     {1              \1ft         6A"JqL                                                                    Cdrl oC crrf,0fr6o
    (b)            County ofResidence ofFirst Listed Plaintiff                                                                           County ofResidence ofFirst Listed Defendant
                                               (EXCEPTIN U.S.             PLAINTIFFCASET                                                                            (IN U,S, PLAINTIFF CASES ONLY)

                                                                                                       I L E D                           NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                   THE TRACT OF LAND INVOLVED.

    (C) .tttomeys               (Firm Name, Address, and Telephone Number)                                                                Attomeys (lf Known)
                                                                                                   SEP O6 2019\U
                 ?Ko 5e
                                                                                        THOMAS G

II. BASIS OF JURISDICTION                                           (Ptace an   "x" in one     Box onty)             III. CITIZENSHIP                  OF PRINCIPAL PARTIES                       (Place an"X" in one Boxfor Plaintifi
                                                                                                                                      (For Diversity Cases Only)                                         and One Boxfor Defendant)
Dt           U.S.   Covemment                     [l        Federal Question                                                                   PTF DEF                                                                          PTF DEF
                 Plaintiff                                    (U.5. Government Not a Party)                                 CitizenofThisState El   tr I                            Incorporated or Principal  Place             A q tr C
                                                                                                                                                                                       ofBusiness In This State

E   z        u.s.   Govemment                     E    4    Diversity                                                       CitizenofAnotherState D2                      tr   2    Incorporated4ndPrincipalPlace               tr 5 trS
                 Defendant                                   (lndicate Citizenship of Parties in ltem       lll)                                                                      ofBusiness In Another State

                                                                                                                            CitizenorSubjectofa tr:                       tr : ForeignNation                                    tr 0      trO

IV. NATURE OF SUIT                                 (Place an        "X" in one Box only)


!   I   l0   Insurance                                 PERSONAL INJIJRY                        PERSONAL INJURY                   625 Drug Related Seirue              422 Appeal2S USC 158              tr    375 False Claims Act
!   120 Marine                                    [     3t0 eirplane                      E     365 Personal Injury -                   ofProperty 2l USC 881         423 Withdrawal                    tr    376 Qui Tam (31 USC
E   l30 Miller Act                                E     315 Airplane Product                        Product Liability            690 Other                                28 USC I 57                             3729 (a))
E   140 Negotiable Instrument                                    Liability                !     367 Health Cae/                                                                                         tr    400 State Reapportionment
!   150 Recovery ofOverpavment                    E        320 Assault, Libel &                     Phamaceutical                                                                                       tr    410   Antitrust
             &
           Enforcement of Judgment                             Slander                              Personal Injury                                                                                     tr    430   Banks and Banking
E   l5l Medicare Act                              tr       330 Federal Employers'                   Product Liability                                                                                   D     450   Commerce
!   I 52 Recovery of Defaulted                                   Liability                fl    368 Asbestos Personal                                                                                   tr    460   Deportation
         Student Loans                            tr       340 Marine                               Injury Product                                                                                      tr    470   Racketeer lnfluenced and
         (Excludes Veterans)                      tr       345 Marine Product                       Liability                                                                                                     Corrupt Organizations
!   153 Recovery of                                              Liabilitv                 PERSONAL PROPERTY                                                          861   HrA (1395f0                 tr    480 Consumer Credit
         Veteran's Benefits                       tr       350 Motor Vehicle              E  370 other Fraud                            Act                           862   Black Lung (923)            tr    490 Cabls/Sat     ry
D   160 Stockholders' Suits                       tr       355 Motor Vehicle              EI 371 Truth in Lending                720 Labor/lvlanagement               863   DIwC/DIww (405(g))          tr    850 Securities/Commodities/
E   l90 other contract                                         Product Liability          E  38ootherPersonal                        Relations                        864   SSID Title XVI                        Exchange
!   195 Contract Product           Liability      tr       360 Other Personal                       Property Damage              740 Railway Labor Act                865   RSI (a0s(g))                tr    890 Other Statutory Actions
E   196 Franchise                                                lnjury                   fl    385 Property Damage              751 Family and Medical                                                 tr    891 Agricultual Acts
                                                                                                    Product Liability                l,eave Act                                                         tr    893 Environmental Matters
                                                                                                                                 790 Other Labor Litigation                                             tr    895 Freedom of Infomation
                                                                                                                                 791 Employee Retirement                                                            Act
   210       tand Condemnation                             440   Other Civil Rights             510 Motions to Vacate                  Income Security Act            870 Taxes (U.S. Plaintiff         tr    896 Arbitration
[  220       Foreclosure                          l-l      441   votins                             Sentence                                                              or Defendant)                 D     899 Administmtive Procedure
E 230        Rent tease & Ejectment               !$       442   Employment                     Habeas Corpus:                                                        871 IRS-Third Party                         Aci/Review or Appeal of
E 240        Torts ro Land                        E        443   Housing/                 E     530 General                                                                                                       A oencv Decision

El 24s       tort Product Liability                              Accommodations           D     535 Death Penalty
E 290        All    Other Real Properry           !
                                                  !
                                                           445 Amer. WDisabilities
                                                               Employment
                                                           446 Amer. w/Disabilities
                                                                                          E
                                                                                          E
                                                                                          D
                                                                                                540 Mandamus & Other
                                                                                                550 Civil Rights
                                                                                                555 PrisonCondition
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                                                                                                                                                       1:19-cv{6}14
                                                                                                                                                       Judge JOhn Z- Leg
                                                               Other                      E     s6o civit Derainee -
                                                  E                                                 Conditions of                                      Masis,rate Judse Jeftey Cumminss
                                                           448 Education
                                                                                                    Confinement                  .,,f}:lifji
V. ORIGIN (Plqce an "X" in one Box only)                                                                                                               Transferred from
                                                                                                                                                                                        Multidistrict                     Multidistrict
fi t Original 2 Removed from 3 Remanded from                  4                                                       Reinstated or                5   Another District              6 Litigation-                  8 Litigation     -
     Proceeding State Court              Appellate Court                                                              Reopened                                                          Transfer                       Direct File

VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are                                                           I.    Previous Bankruptcy Matters                  (For nature of suit 422 a\d423, enter the case
filing and write          a   brief statement of cause.)                                                                              and judge   for any associated bankruptcy matter previously adjudicated by a judge of

Fttt*                                     cT-\1tr.xAFrS 6Cr                                        A
                                                                                                                            Court. Use a separate attachment if necessary.)

VIII.            REQUESTED IN                                        E curcr           rF THIS rs      A   clAss    ACTIoN               DEMAND $                              CHECK YES only if demanded in complaint:
              COMPLAINT: ,                                                 WDER RULE 23, F.R.Cv.P.
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IX. RELATED CASE(S\                                          ,    6ee inllructions):

              IF'ANY                                                                             ruDGE                                                         DOCKETNUMBER

X. This cts€                 (chrck one   bo-)   KL        not a refiling of a previously dismissed                action        fl    is a refiling of case number                previously dismissed by Judee
DATE                                                                                             SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                                                                      -
